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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

    

 

 

 

 

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' l?cvél?Q (DLC)
UNITED STATES SECURITIES AND EXCHANGE .
COMMISSION, : ORDER
Plaintiff, ‘
_v_ ; §;:LW ha ___:W
§§ mspb ann
ALPINE SECURITIES CORPORATION, 3 'b`£ m
`I:_T.`L?:":`,¢._`!"- r,";…;." `”` 3 "V `FI§`_,E§T :
Defendant. IHEY '
______________________________________ X l';:z_zé;;; ____§___EF

 

 

DENISE COTE, District Judge:

On August 3, the defendant filed a motion to dismiss the
complaint pursuant to Rule lZ(b)(2} and Rule lZ(b)(B), Fed. R.
Civ. P. Under Rule lB(a)(l)(B), Fed. R. Civ. P., a plaintiff
has 21 days after the service of a motion under Rule 12(b) to
amend the complaint once as a matter of course. Accordingly, it

is hereby

ORDERED that the plaintiff shall file any amended complaint
by August 24. lt is unlikely that the plaintiff will have a

further opportunity to amend.

IT IS FURTHER ORDERED that if no amended complaint is
filed, the plaintiff shall serve any opposition to the motion to
dismiss by August 25. The defendant's reply, if any, shall be
served by September 6. At the time any reply is served, the

moving party shall supply Chambers with two (2) courtesy copies

 

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of all motion papers by mailing or delivering them to the United

States Courthouse, 500 Pearl Street, New York, New York.
SO ORDERED:

Dated: New York, New York
August 4, 2017

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ShNISE COTE
United States District Judqe

 

 

 

 

 

 

